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IN THE UNITED sTATEs DISTRICT CoURT F"-ED fe 13 ,.\
FoR THE WESTERN DISTRICT oF TENNESSEE ` "
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tii`;)‘i' t:`:,a~ r.;; ijf-;§"" Ct
uNrrED sTATEs oF AMERICA ) °`“"f "S
)
Ptainafr, )
)
vs ) cR. No. 02-20423-03_13
)
DEBRA sErTLEs, )
)
Defendant. )
oRDER To sURRENDER

 

The defendant, Debra Settles, having been sentenced in the above case to the custody of the
Bureau of Prisons and having been granted leave by the Court to report to the designated facility,
IS HEREBY ORDERED to surrender to the Bureau of Prisons by reporting to the FCI Greenville,
(P.O. Box 4000), 100 U.S. Route 40, Greenville, IL 66246 2:00 p.m. on FRIDAY, JUNE 24,
2005.

IT IS FURTHER ORDERED that upon receipt of a copy of this Order the defendant shall
report immediately to the Office of the Clerk, Federal Office Building, 167 N. Main Street, Room 242,
Memphis, Tennessee 38103 to acknowledge by signature receipt of a copy of this Order and that the

defendant will report as ordered to the facility named above.

ENTERED this the l day of lune, 2005. ®M

@ANIEL BREEN `\
@TED sTATEs DISTRICT JUDGE

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ACKNOWLEDGEMENT

I agree to report as directed above and understand that
if I fail to report, I may be cited for contempt of
Court and if convicted, may be punished by
imprisonment, fine or both.

Signed and acknowledged before me on

 

 

 

Clerk/Deputy Clerk Defendant

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 234 in
case 2:02-CR-20428 Was distributed by faX, mail, or direct printing on
June 9, 2005 to the parties listed.

 

 

Steffen G. Schreiner

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U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

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Honorable J. Breen
US DISTRICT COURT

